                  Case 5:22-cv-00219-EJD Document 27 Filed 04/10/23 Page 1 of 7



 1       Randall T. Garteiser (CA State Bar No. 231821)
            rgarteiser@ghiplaw.com
 2
         Christopher A. Honea (CA State Bar No. 232473)
 3          chonea@ghiplaw.com
         GARTEISER HONEA–IP TRIAL BOUTIQUE
 4       95 Third St., San Francisco, CA 94103
         119 W Ferguson, Tyler, TX 75702
 5       Tel: 888-908-4400
 6

 7       Attorneys for Plaintiff,
         DISPLAY TECHNOLOGIES, LLC
 8
 9                                  IN THE UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                              SAN JOSE DIVISION
11
12   DISPLAY TECHNOLOGIES, LLC
                                                               NOTICE OF SUBMISSION OF
13                    Plaintiff                                EVIDENCE OF COSTS
     v.
14
                                                               Case No. 5:22-cv-00219-EJD
15
     MOCACARE CORP.
16
                      Defendants.
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       Counsel for Plaintiff respectfully requests an extension of one business day to file this receipt as Counsel
28   calendared this as a Bill of Costs after a judgement is entered instead of a response to an order within 7 days.
30
31
              Case 5:22-cv-00219-EJD Document 27 Filed 04/10/23 Page 2 of 7



 1         Attached hereto is a true and correct copy of the receipt in the amount of $402.00 for
 2
     filing this lawsuit. Plaintiff is not requesting reimbursement for any additional costs.
 3
 4
 5
 6   Respectfully submitted,
 7
     Dated: April 10, 2023
 8
 9                                       By:    /s/ Randall Garteiser
                                                Randall T. Garteiser (CA State Bar No. 231821)
10                                                 rgarteiser@ghiplaw.com
                                                Christopher A. Honea (CA State Bar No. 232473)
11
                                                   chonea@ghiplaw.com
12                                              GARTEISER HONEA–IP TRIAL BOUTIQUE
                                                95 Third St., San Francisco, CA 94103
13                                              119 W Ferguson, Tyler, TX 75702
                                                Tel: 888-908-4400
14
15
                                                Attorneys for Plaintiff
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20
21   Attachments:
22
     Copy of receipt for $402.00 filing fee.
23
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30                                                                                                  1
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              Case 5:22-cv-00219-EJD Document 27 Filed 04/10/23 Page 3 of 7



 1
 2
                                 CERTIFICATE OF SERVICE
 3
 4         I hereby certify that a true and correct copy of this documents was served on all
 5   counsel of record in this case via electronic mail via this Court’s CM/ECF system on this
 6   time stamped date.
 7
                                            /s/ Randall Garteiser
 8                                          Randall Garteiser
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                     Case 5:22-cv-00219-EJD Document 27 Filed 04/10/23 Page 7 of 7


AO 440 {Rpv. us/12`} Summ¢r!S in a Cit'}l Action tpfig€ 2}


Civil Action No. 3:22-cv-00219-JSC


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                      (This section ¥houid not be filed with the court unlesrs required by Fed. R. Civ. P. 4 (i))

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